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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

THOMSON REUTERS ENTERPRISE               )
CENTRE GMBH and WEST PUBLISHING          )
CORPORATION,                             )
                                         )
                                         )
                   Plaintiffs and        )   C.A. No. 20-613 (SB)
                   Counterdefendants,    )
                                         )
       v.                                )
                                         )
ROSS INTELLIGENCE INC.,                  )
                                         )
                   Defendant and         )
                   Counterclaimant.      )


            PLAINTIFFS’ OPPOSITION TO DEFENDANT’S MOTION FOR
             CERTIFICATION FOR INTERLOCUTORY APPEAL UNDER
               28 U.S.C. § 1292(B) AND FOR STAY PENDING APPEAL

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April 1, 2025
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                                 SUMMARY OF ARGUMENT

        With trial looming next month, ROSS’s request that the Court further delay this case by

allowing a piecemeal appeal to proceed on mixed questions of law and fact that would inevitably

require the Third Circuit to delve into the specific facts of this case is completely unjustifiable.

Section 1292(b) appeals require “exceptional circumstances [that] justify a departure from the

basic policy of postponing appellate review until after the entry of a final judgment.” Coopers &

Lybrand v. Livesay, 437 U.S. 463, 475 (1978) (internal quotations omitted). Applying this

principle, the Third Circuit has held that “[i]t is quite apparent from the legislative history of the

Act of September 2, 1958 that Congress intended that section 1292(b) should be sparingly

applied.” Milbert v. Bison Lab’ys, Inc., 260 F.2d 431, 435 (3d Cir. 1958).

        ROSS comes nowhere close to showing that the requirements of Section 1292(b) are met

here, let alone that there are exceptional circumstances warranting certification of this Court’s

Order of February 11, 2025 (D.I. 770, “Order”). First, unlike the quick and clean questions of

“pure law” that are appropriate for interlocutory appeal, In re AE Liquidation, Inc., 451 B.R. 343

(D. Del. 2011), the two questions ROSS seeks to certify—(1) whether Plaintiffs’ headnotes

satisfy the Copyright Act’s originality requirement, and (2) whether ROSS’s copying of those

headnotes constituted fair use1—are fact-bound and would require the Third Circuit to review the

Court’s application of the law to the facts. ROSS’s Motion can be denied for this reason alone.

        Second, ROSS cannot show substantial ground for difference of opinion stemming from



1
  The two questions ROSS seeks to certify are: “1. Westlaw headnotes excerpt legal points from
public-domain judicial opinions, tracking the language of the opinion as much as possible. Do
the headnotes fail the Copyright Act’s originality requirement because the notes lack “creative
spark”? 2. ROSS used .076% of the publicly-available Westlaw headnotes as an intermediary
step in training its AI legal search system to recognize language patterns and then provide an
advanced, inexpensive, and different way to access millions of public judicial opinions. Is
ROSS’s use a transformative or otherwise fair use of the headnotes?” Mot. 6.


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“genuine doubt as to the correct legal standard,” as is also required under Section 1292(b), In re

Physiotherapy Holdings, Inc., 2017 WL 6524524, at *6 (D. Del. Dec. 21, 2017) (emphasis

added) (denying motion for leave to file interlocutory appeal). The legal standards for originality

and fair use are well developed, and have been the subject of multiple binding Supreme Court

opinions. Andy Warhol Found. for the Visual Arts, Inc. v. Goldsmith, 598 U.S. 508 (2023); Feist

Publ’ns, Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 345 (1991). ROSS’s belief that the Order was

wrongly decided is not sufficient. Commonwealth of Pennsylvania v. Think Fin., Inc., 2016 WL

7227538, at *1, n.1 (E.D. Pa. Mar. 31, 2016).

       Third, ROSS also cannot show an immediate appeal would materially advance the

ultimate termination of this litigation, because “triable issues would remain even after a

successful appeal.” United States v. Exide Corp., 2002 WL 992817, at *2 (E.D. Pa. May 15,

2002). Whatever the Third Circuit might do with respect to ROSS’s questions, numerous issues

would remain in the case, including infringement of editorial content besides the West Headnotes

(with respect to Question 1) and tortious interference with contract (with respect to either

question). As a result, there will be another trial no matter what and yet another appeal down the

line is virtually guaranteed. Moreover, the Parties are right on the brink of trial now. The trial is

already short and streamlined. Allowing an immediate appeal will serve to only further delay the

ultimate termination of what is already a very advanced, and already delayed, litigation.

       Finally, ROSS cannot point to exceptional circumstances justifying immediate appeal.

Unable to meet the statutory requirements, ROSS attempts to manufacture a sense of urgency by

characterizing the Court’s measured Order as a sweeping referendum on all of AI. ROSS insists




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that since February 11, 2025, there has been a “pronounced chill on AI innovation.” 2 D.I. 787

(“Mot.”) 1, 7. In reality, since the Order, the steady flow of AI developments, announcements,

and innovations has continued at a clipped pace. 3 Why has the world of AI not come to a

screeching halt? Because the Court did not purport to definitively resolve the question of “how

copyright law applies to use of works by an artificial intelligence system” (Mot. 7-8) in all

scenarios. Rather, the Court issued a measured opinion that applied accepted legal standards

directly from Supreme Court precedent to the specific, undisputed facts of this case.4

       Ultimately, this case implicates many different issues that may be relevant to an appeal.

The Third Circuit deserves to be working off of a final judgment, not a piecemeal, partial record.

And despite ROSS’s overblown efforts to paint this case as risking “America’s preeminence”

(Mot. 1) and threatening to “shut down the very innovation” (Mot. 7), there is no reason ROSS

cannot wait a mere month to bring a single appeal that can be dealt with in one go, consistent

with the normal finality rule. ROSS has not been operational for five years; the Order does not

create some imminent threat to ROSS that requires resolution before the trial can proceed. And it


2
  Though ROSS claims to provide “justice for many,” ROSS is a for-profit company that targeted
law firms.
3
  On February 18, 2025, X.AI debuted Grok 3. See https://www.cnn.com/2025/02/18/tech/grok-
3-release-elon-musk/index.html. On February 27, 2025, OpenAI unveiled GPT-4.5, its largest
AI model yet. See https://techcrunch.com/2025/02/27/openai-unveils-gpt-4-5-orion-its-largest-ai-
model-yet/. On March 1, 2025 Amazon introduced Alexa Plus with new AI features. See
https://www.theverge.com/the-vergecast/621514/alexa-plus-amazon-ai-vergecast. On March 7,
2025, Meta unveiled LLaMA 4, a new voice-powered AI model.                                        See
https://www.pymnts.com/meta/2025/meta-expands-voice-powered-ai-with-llama-4/. The list
goes on.
4
   ROSS argues that this case has had a wide impact, citing Kadrey v. Meta Platforms, Inc.,
Plaintiffs’ Motion for Partial Summary Judgment, No. 3:23-cv-03417 (N.D. Cal. Mar. 10, 2025).
It is unclear why another plaintiff attempting to liken its facts to the facts of this case makes this
case “exceptional”. ROSS also cites a WIRED article the predates the Order, (Mot. 7, n.2), and
mischaracterizes the article as saying the outcome of this case could make or break the industry
when the article actually refers to dozens of pending AI cases. If anything, this article and
ROSS’s other citation to a “Map of all 30 copyright suits v. AI” (Mot. 8, n.3) shows that this
case is not the be all end all for AI—there are dozens of cases pending.


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is telling that ROSS has not rushed to bring this appeal—it waited over a month to move, during

which time the parties have been busily preparing for trial. Accordingly, ROSS’s motion for

certification for interlocutory appeal and for stay pending appeal should be denied.

                                 FACTUAL BACKGROUND

       The facts of this case are detailed in Plaintiffs’ summary judgment submissions and the

Court’s orders, but Plaintiffs give a brief summary herein. Westlaw offers subscribers access to a

collection of editorially enhanced judicial opinions arranged within an original classification

system, the WKNS. D.I. 673 (“Plaintiffs’ Opening Brief on Fair Use”) at 7. West’s attorney-

editors create editorial enhancements, including synopses of cases and West Headnotes, which

identify and synthesize key issues and holdings. Id. West’s attorney-editors draft the specific

wording of the West Headnotes, decide which concepts and points of law to include, make

creative choices about which opinions to annotate, how many West Headnotes to create for a

given judicial opinion, and which case passages should be linked to which West Headnotes,

among other choices. Id. Different legal research platforms do this differently; LexisNexis

provides differently written headnotes in a different number than Westlaw. Id. West’s attorney-

editors also decide which “Key Numbers”—i.e., more granular legal topics—are assigned to

West Headnotes for purposes of integrating the West Headnotes into the West Key Number

System (“WKNS”). Id. The Westlaw Content reflects decades of creative choices about how to

explain, organize, classify, and synthesize the law. D.I. 716 at 6–7. This Court held that the West

Headnotes and WKNS are sufficiently creative to warrant copyright protection. Order at 5, 7.

       ROSS created the ROSS platform in 2014 as a replacement for Westlaw. Id. To create the

ROSS platform, ROSS wanted a large set of content to teach its AI model how to answer legal

questions. Id. at 9. ROSS already had a large set of judicial opinions that it purchased from




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Casemaker. Id. But ROSS wanted legal analysis—“legal memos” containing legal questions

mapped to relevant passages from judicial opinions that answered the essential elements of the

query. Id. After unsuccessfully attempting to gain access both directly and through numerous

third-parties, ROSS ultimately obtained access to Westlaw through LegalEase, which it knew

had access. Id at 9–10. ROSS contracted with LegalEase to provide training content, including

25,000 legal memos (the “Bulk Memos”) that copied Westlaw Content. Id. at 3, 10. LegalEase

copied Westlaw Content in the process of creating the Bulk Memos and ROSS then copied the

Bulk Memos (and the Westlaw Content therein) multiple times to train its AI algorithm. Id. at

11. In its first summary judgment opinion, this Court found that ROSS actually copied Westlaw

Content, and in its second summary judgment opinion, found both actual copying and substantial

similarity, holding ROSS liable for direct copyright infringement. Order at 10.

                              PROCEDURAL BACKGROUND

       This case has been pending for nearly five years and is on the brink of trial. On May 6,

2020, Plaintiffs commenced this lawsuit asserting copyright infringement and tortious

interference with contract. D.I. 1. ROSS filed its Second Amended Answer to Plaintiffs’

Complaint asserting twenty-three defenses. D.I. 225 (“SAA”) 7–11. On December 22, 2022, the

Parties moved for summary judgment. D.I. 250; D.I. 252; D.I. 254; D.I. 270; D.I. 272. On

September 25, 2023, the Court granted in part and denied in part Plaintiffs’ motion for summary

judgment on copyright infringement by granting the motion with respect to actual copying. D.I.

547. The Court granted Plaintiffs’ motion for summary judgment on ROSS’s miscellaneous

defenses, and denied the motions with respect to fair use. Id. 15–26, 33–34.

       On August 22, 2024, the day before trial was to start, the Court held a videoconference at

which it found that the parties would be permitted to renew their summary judgment motions on




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certain issues, including fair use. D.I. 663. The Court issued an order to continue the trial. Id. On

October 1, 2024, Plaintiffs moved for summary judgment on fair use and other affirmative

defenses (D.I. 672) as well as direct infringement (D.I. 674). ROSS moved for summary

judgment on fair use. D.I. 676. On November 5, 2024, the Court ordered a new trial date and

scheduled trial to begin on May 12, 2025. D.I. 722. On December 20, 2024, the Court ordered

the pretrial conference be scheduled for April 9, 2025. D.I. 756. On February 11, 2025, the Court

granted Plaintiffs’ motions for summary judgment on direct infringement and fair use, and

denied ROSS’s cross-motion. D.I. 770. The parties have been hard at work preparing for trial.

On March 10 and 17, 2025, the Parties exchanged various pre-trial submission. It was not until

March 18, 2025 – over a month since the Order – that ROSS brought this Motion.

                                          ARGUMENT

I.     THE COURT SHOULD DENY ROSS’S REQUEST FOR CERTIFICATION

       A “‘[p]iecemeal litigation is generally disfavored by the Third Circuit.’” In re Maxus

Energy Corp., 611 B.R. 532, 538 (D. Del. 2019). To warrant leave to appeal under § 1292(b),

there must be “an order (i) that involves a controlling question of law, (ii) as to which there

exists a substantial ground for difference of opinion, and (iii) the disposition of which may

materially advance the ultimate determination of the litigation.”5 In re TK Holdings, 2021 WL

3796878, at *3 (D. Del. Aug. 26, 2021) (denying motion for leave to appeal). In addition,

“[e]ntertaining review of an interlocutory order under § 1292(b)” is appropriate only when the

party seeking leave to appeal “establishes exceptional circumstances [to] justify a departure from

the basic policy of postponing review until after the entry of final judgment.” Id. Here, the Order

5
  ROSS compares this lawsuit to TikTok Inc. v. Garland, implying immediate appeal is needed
because ROSS’s innovation is “central to the future of the United States.” 145 S. Ct. 57, 62
(2025); Mot. 7. But TikTok involved a law that imminently threatened TikTok’s United States
operations with closure, and implicated national security concerns. Id. No similar laws are at
issue here, and ROSS has been shut down for five years already. There is nothing imminent.


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does not meet these stringent requirements.

       A.      ROSS Does Not Seek Certification of Controlling Questions of Pure Law

       ROSS correctly articulates the standard for a “controlling” question of law as “a pure

question of law, something the court of appeals [can] decide quickly and cleanly without having

to study the record.” Ahrenholz v. Bd. of Trs. of Univ. of Ill., 219 F.3d 674, 677 (7th Cir. 2000)

(Posner, J.) (emphasis added) 6; Mot 8. In other words, the question posed must be resolvable

without “the need to review the district court’s application of law to facts.” Capitol Recs. LLC

v. ReDigi Inc., 2013 WL 12618509, at *1 (S.D.N.Y. June 21, 2023) (emphasis added) (finding

question of whether defendant reproduced plaintiff’s copyrighted work was not a pure question

of law). For instance, this Court certified the questions “What is the scope of the Consumer

Financial Protection Bureau's enforcement authority? And is ratification required if a federal

agency files suit while it is unconstitutionally structured?”—examples of pure legal questions at

a high level of abstraction and general applicability. Consumer Fin. Prot. Bureau v. Nat'l

Collegiate Master Student Loan Tr., 2022 WL 548123, at *1 (D. Del. Feb. 11, 2022) (J. Bibas),

certified question answered and remanded, 96 F.4th 599, 600 (3d Cir. 2024). By contrast, in

Rimini St., Inc. v. Oracle Int’l Corp., the court refused to grant an interlocutory appeal from an

order on summary judgment because it was “uniquely tied to the factual questions at play in this

case.” 2021 WL 4037482, at *6 (D. Nev. Sept. 2, 2021). The court’s order interpreted the law

and found that Rimini’s update was a derivative work thereunder—it “did not hold that an update

is always a derivative work,” and thus the question could not be completely abstracted “out of

the details of the evidence or facts of a particular case” to be given “general relevance.” Id. at 6.

       Neither of ROSS’s questions for certification meet this stringent criterion because neither


6
 For example, in Ford Motor Credit Co. v. S.E. Barnhardt & Sons, Inc., which ROSS cites, the
question of law was an interpretation of code on mining operation. 664 F.2d 377 (3d. Cir. 1981).


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is a pure question of law. ROSS seeks certification of two questions: (1) “Do the headnotes fail

the Copyright Act’s originality requirement because the notes lack ‘creative spark’” and (2) “Is

ROSS’s use a transformative or otherwise fair use of the headnotes?” Both questions concern

the Court’s application of the law to the specific facts of this case, and cannot be answered

without reference to the facts at hand. As in Rimini, neither question is of “general relevance”—

the questions here concern “the headnotes” (which are specific to Plaintiff’s editorial process of

selecting and synthesizing judicial opinions) and “ROSS’s use” (which is specific to what ROSS

did with the content from Westlaw, why it copied the content, and how that use impacted

Plaintiff’s market). 2021 WL 4037482, at *6. See also E.E.O.C. v. Hora, Inc., 2005 WL

1745450, at *3 (E.D. Pa. July 22, 2005) (application of law to the facts at issue was not a

“controlling question of law.”); TK Holdings, 2021 WL 3796878, at *3 (order that considered the

“specific facts of this case” was not purely legal). “The antithesis of a pure question of law is one

that asks whether the district court properly applied settled law to the facts or evidence of a

particular case,” Moebius v. HB USA Holdings, Inc., 2021 WL 9747608, at *2 (C.D. Cal. Sept. 3,

2021), yet that is exactly what ROSS seeks to do here.

       ROSS’s conclusory arguments on this requirement (Mot. 8–9) are insufficient. First, with

respect to originality, ROSS argues that the Court found that “Copyright validity is a question of

law, not fact.” Order at 5. But whether the headnotes meet the originality requirement—which is

ROSS’s question for appeal—requires applying the law to the undisputed facts of this case, as

the Court did in its Order. See Order at 4 (describing the headnotes as involving editorial choices

about what is important); Arista Recs., Inc. v. Flea World, Inc., 2006 WL 2882990, at *2 (D.N.J.

Oct. 10, 2006) (finding “questions about a district court’s application of the facts of a case to

established legal standards are not controlling questions of law for purposes of Section




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1292(b).”). And although ROSS claims it is not asking the Third Circuit to “hunt[] through the

record” in search of a material dispute (Mot. 8), it later contradicts this point when it says

“perhaps, originality and fair use are jury questions after all” (Mot. 18) (emphasis added).7

Even in Link v. Mercedes-Benz of N. Am., Inc., on which ROSS heavily relies for its claim that

this is a controlling question of law, although the district court granted leave, the Third Circuit

declined to answer either certified question, because the analysis too fact intensive for an

interlocutory appeal. 550 F.2d 860 (3d Cir. 1977). So too here.

       Second, with respect to fair use, ROSS is right that the ultimate balancing of fair use

involves legal work—that is why it is so appropriate for summary judgment. But fair use is still

admittedly “a mixed question of law and fact,” (Mot. 8), which makes it inappropriate for

interlocutory appeal, see McCoy v. Favata, 2020 WL 5891898, at *2 (D. Del. Oct. 5, 2020) (“An

order involves a ‘controlling question of law’ when it concerns a question of law, as opposed to

one of fact or a mixed question of law and fact.”). The application of a multifactor test, like fair

use, is particularly ill-suited to interlocutory appeal for this reason. See Moebius, 2021 WL

9747608, at *3 (finding fair use was not a controlling question of law). And this makes sense. It

is hard to see how the Third Circuit could possibly balance the fair use factors “quickly and

cleanly,” let alone without “having to study the record,” as the Court painstakingly did in its

Order. See Ahrenholz, 219 F.3d at 677. In sum, instead of clarifying the standard, ROSS wants to

ask the Third Circuit how to apply a known standard to this case’s facts. That is not sufficient.

       B.      This Case Does Not Implicate Legal Questions on Which There is Substantial
               Ground for Difference of Opinion

       Next, ROSS must show that “there exists a substantial ground for difference of opinion”


7
  During conferral on this Motion, counsel for Plaintiffs asked counsel for ROSS if they intended
to argue there were factual disputes precluding summary judgment and ROSS’s counsel
indicated that they may. April 1, 2025, Declaration of Miranda D. Means at ¶ 2.


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with respect to the controlling questions of law it seeks to certify. TK Holdings, 2021 WL

3796878, at *3. That the Court originally held there were factual disputes for the jury on

originality and fair use and then reassessed that finding as it dug deeper in preparation for trial,

does not mean this case implicates a matter of law on which there are “substantial grounds for

difference of opinion,” as ROSS argues. Mot. 9, 16. To satisfy this requirement “the difference

of opinion must arise out of [a] genuine doubt as to the correct legal standard.” Physiotherapy

Holdings, 2017 WL 6524524, at *13 (emphasis added) (denying motion for leave to file

interlocutory appeal) (citing Hulmes v. Honda Motor Co., 936 F. Supp. 195, 208 (D.N.J. 1996),

aff'd, 141 F.3d 1154 (3d Cir. 1998)); Id. at *6; Martin v. Garrett, 2020 WL 4700717, at *3

(W.D.N.C. Aug. 13, 2020) (finding “for interlocutory appeals, it matters not whether the lower

court simply got the law wrong, but whether courts themselves disagree as to what the law is.”).

This was so in one of the cases ROSS points to, Consumer Fin. Prot. Bureau, where there was

doubt as to the legal standard itself, and an absence of controlling law. 2022 WL 548123, at *2. 8

By contrast, “[a] legal standard is not infirm because reasonable judges may apply the same

standard to similar facts and reach different results.” Apex Funding Source, LLC v. Williams

Land Clearing, Grading & Timber Logger, LLC, 2024 WL 3678353, at *2 (E.D.N.C. Aug. 5,

2024); Segal v. Strausser Enters., Inc., 2019 WL 5537713, at *3 (E.D. Pa. Oct. 24, 2019) (“A

doctrine that is difficult to apply is not inherently unsettled law; difficulty of application does not

inherently provide substantial ground for difference of opinion.”).

       There is no doubt about the correct legal standard to apply on both questions here. With


8
  ROSS’s cites Katz v. Carte Blanche, but there the Third Circuit says little about this
requirement other than to defer strongly to the district court. 496 F.2d 747 (3d Cir. 1974). And
that case was a class certification question that does not involve similar issues to those here.
Reese v. BP Exploration (Alaska) Inc. involved general questions of law about whether certain
evidence could be used, not the application of an established legal standard to the facts of the
case. 643 F.3d 681, 687 (9th Cir. 2011).


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respect to originality, the Court applied the standard articulated in Feist Publ’ns, Inc. v. Rural

Tel. Serv. Co., Inc., which held that “Original, as the term is used in copyright, means only that

the work was independently created by the author (as opposed to copied from other works), and

that it possesses at least some minimal degree of creativity.” 499 U.S. at 345. With respect to fair

use, the standard is also well-established by extensive case-law applying the four factors. ROSS

cites Am. Geophysical Union v. Texaco Inc.’s finding that “the decisions of the Supreme Court

on fair use have not formulated a clear framework or standard governing future cases,” in

support of its claim that the fair use standard is somehow in doubt. 802 F. Supp. 1, 30 (S.D.N.Y.

1992); Mot. 11–12.9 That may have been true in 1992, but it is difficult to say that with a straight

face in 2025, when the Supreme Court articulated the fair use framework clearly in Campbell v.

Acuff-Rose Music, Inc., 510 U.S. 569 (1994); Google LLC v. Oracle Am., Inc., 593 U.S. 1

(2021); and most recently, in Warhol, 598 U.S. at 508.

       ROSS’s arguments are meritless. With respect to originality, first, ROSS claims that the

“Second Circuit has explained why the Westlaw headnotes lack originality” and that thus the

Court “should have granted ROSS’s partial summary judgment motion” on lack of originality.

Mot. 10. ROSS is wrong. It cites Matthew Bender & Co. v. West Publ’g Co. on this, (Mot. 12),

which involved judicial opinions with headnotes or other editorial enhancements removed, not

the enhancements themselves. 158 F.3d 674, 680 (2d Cir. 1998). That a case with different facts

came out differently is not evidence that there is “substantial ground for difference of opinion”

here. Physiotherapy Holdings, 2017 WL 6524524, at *13.10



9
   That case also differs from this one because the parties agreed an immediate appeal would
“make overall settlement likely,” there was “no controlling precedent,” and “[t]rial could occupy
the court for many months,” none of which is true here. 802 F.Supp. at 29–30.
10
   ROSS cites Harper & Row Publ’rs, Inc. v. Nation Enters., but there the Court did not reach
the issue of originality. 471 U.S. 539, 548 (1985).


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       Second, ROSS argues that the Court’s Order credited Plaintiffs’ “labor” or “sweat of the

brow” rather than their creativity. Mot. 10–11. But the Court applied Feist in assessing whether

the headnotes had a minimal creative spark. Order at 6–7. This is evident from the very passage

of the Order ROSS cites, “a headnote can introduce creativity by distilling, synthesizing, or

explaining part of an opinion.” Mot. 10; Order at 7. ROSS characterizes the Court’s sculptor

analogy as crediting “labor” over creativity, but the whole point of the analogy is not that it takes

a lot of labor to make a sculpture but that the decisions for what to remove are creative decisions.

       Third, ROSS argues that the Court “erred in its copyrightability rulings” with respect to

the WKNS. Mot. 11. That is not part of the question ROSS seeks to certify, so it is unclear how it

is relevant. Moreover, in so arguing, ROSS cites an irrelevant case 11 and ignores record evidence

of the creativity of the WKNS. Supra 4. ROSS does not assert there is doubt about what the

standard is, it merely disagrees with the Court’s application of the law to the WKNS, which is

not sufficient. See Ins. Co. of Pa. v. City of Long Beach, 2007 WL 9700628, at *1 (C.D. Cal.

May 7, 2007) (“[E]very decision by a judge in an adversarial proceeding results in at least one

party convinced that the court got it wrong; if such disagreement were sufficient under section

1292(b), every judgment would give rise to an interlocutory appeal.”); Dolphin Inc. v. AIG

Specialty Ins. Co., 2021 WL 11886101, at *3 (D. Ariz. June 8, 2021) (finding difference of

opinion element is not met where “a party [merely] disagrees with a court's decision and cites to

similar cases decided differently.”).

       With respect to fair use, ROSS’s arguments are similarly meritless. First, ROSS argues

that fair use is a “flexible” concept and “its application may very well vary depending on the


11
   ROSS cites Silverstein v. Penguin Putnam, Inc. where the court found that a selection could be
copyrightable “if Silverstein exercised some creativity” and found that there was not sufficient
creativity where selection was compelled. 522 F. Supp. 2d 579, 599 (S.D.N.Y. 2007). That is not
true here, and in fact different legal research platforms do it differently. Supra 4.


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context.” Mot. 12. But if anything, the nature of fair use as flexible and fact dependent is a

reason interlocutory appeal is inappropriate here. Supra 9; Keystone Tobacco Co., Inc. v. U.S.

Tobacco Co., 217 F.R.D. 235, 239 (D.D.C. 2003) (“Where the crux of an issue decided by the

Court is fact-dependent, the Court has not decided ‘a controlling question of law’ justifying

immediate appeal”); Hart v. Rick’s Cabaret Int’l, Inc., 73 F. Supp. 3d 382, 395 (S.D.N.Y. 2014).

       Second, ROSS argues that it was improper for the Court to weigh the first and fourth

factors most heavily, and that it rigidly treated fair use like a “score card that promises victory.”

Mot. 13. But that is not what the Court did. The Court weighed all the factors “together,” and

found that “Factor two matters less than the others, and factor four matters more.” Order at 23.

There is nothing wrong with this approach. The Supreme Court held that fourth factor is

“undoubtedly the single most important element of fair use.” Harper, 471 U.S. at 566. The

second factor, by contrast, “has rarely played a significant role in the determination of a fair use

dispute.” Authors Guild v. Google, Inc., 804 F.3d 202, 220 (2d Cir. 2015). With respect to the

first factor, the Third Circuit in Murphy v. Millennium Radio Grp. LLC found commerciality

strongly weighed against fair use. 650 F.3d 295, 308 (3d Cir. 2011).

       Third, ROSS claims the Court “deemphasized” the small percentage of the total West

Headnotes copied. Mot. 13. Not so. The Court expressly considered and rejected this argument

because it found that “just as taking 300 words out of President Ford’s memoirs counted as

taking the heart of the work, so too can ROSS’s taking of several thousand headnotes out of

Westlaw.” Order at 21. Even assuming ROSS’s (incorrect) 12 percentage is true, “small takings”

of a large whole can be qualitatively significant. Associated Press v. Meltwater U.S. Holdings,



12
   ROSS’s figure only accounts for a subset of the bulk memos—as explained in Plaintiffs’
opening brief, ROSS is responsible for LegalEase’s copying of hundreds of thousands of
editorially enhanced Westlaw cases. D.I. 673 at 38–39.


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Inc., 931 F. Supp. 2d 537, 558 (S.D.N.Y. 2013); see also Soc’y of Holy Transfig. Monastery, Inc.

v. Gregory, 689 F.3d 29, 63 (1st Cir. 2012). ROSS claims that in Google, the small amount

copied played a “central role in the fair use analysis,” (Mot. 13), but ROSS misunderstands how

that case handled factor three. In Google, the Court did not consider just the amount of copying

in a vacuum (indeed, the amount of copying was “large” in Google, consisting of 11,500 lines of

code), but instead looked at the copying in relation to Google’s transformative purpose. 593 U.S.

at 33–34. ROSS’s copying was not tied to a valid transformative purpose, but rather, its goal was

to create a directly competing and substitutive product. Its Google comparison is thus inapt.

       Fourth, ROSS argues that the Court was wrong on factor one. Mot. 14–15. It asserts

ROSS’s copying “is transformative intermediate copying” similar to that in Sony, Sega, and

Authors Guild, as ROSS copied to increase “access to public information” and “communicate

something new.” Sony Comput. Entm’t, Inc. v. Connectix Corp., 203 F.3d 596 (9th Cir. 2013);

Sega Enters. v. Accolade, Inc., 977 F.2d 1510 (9th Cir. 1992); Mot. 14–15. There are many

errors to unpack. In Sega, the Ninth Circuit found “disassembly” of code was fair use where “the

only way to gain access to the ideas and functional elements embodied in the copyrighted

computer program” and there was a “legitimate reason for seeking such access,” namely,

compatibility. 977 F.3d at 1520-28. Literally none of these facts are present here. Copying was

not the only way to gain access to ideas—ROSS already had the judicial opinions in its

possession, and ROSS could have created the training material without copying. D.I. 716 at 33.

ROSS did not copy for compatibility. Nor was ROSS’s copying necessary to providing factual

information in a way that did not compete with the original, as was true in Authors Guild, 804

F.3d at 217. ROSS copied Westlaw’s editor’s decisions to replicate those decisions, so that it

could create an algorithm to compete directly with Plaintiffs’ own algorithm built on the same




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content. As ROSS’s purpose was the same as Plaintiffs’, the Court was correct in finding “this

case fits more neatly into the newer framework advanced by Warhol.” Order at 19.

       ROSS claims that because lawyers have been using Westlaw for over a century, ROSS’s

copying is “no different from the programmers in Google” where the copying enabled

programmers to use code they “had already learned to work with.” Mot. 15. This is nonsensical.

ROSS did not do anything remotely like using well-known API declarations to allow its users to

write new programs, as in Google. Rather, ROSS illicitly accessed content on the Westlaw

platform, available only to paying subscribers, to create a competing platform. ROSS tries to

downplay the role of commerciality in factor one by saying that commerciality “requires more

than profit motives and possibilities.” Mot. 14.13 Putting aside the fact that ROSS did not dispute

commerciality during summary judgment briefing, and thus waived this argument for appeal,

ROSS was not just after profit generally; it was trying to create a commercial substitute to take

market share from Westlaw. D.I 673 at 8–10; D.I. 734 at 12. ROSS intended and succeeded at

creating a Westlaw replacement. Id. at 14-15. ROSS was not providing free access to public

content; it was charging a fee for a search tool built on Westlaw content that competes with

Plaintiffs’ own search tool built on that same content.

       Fifth, ROSS argues that AI distinctly favors progress and benefits the public. Mot. 15–

17. Encouraging innovation does not necessitate ruling for ROSS here. Where “there is a fully

functioning market that encourages the creation and dissemination” of a work, “permitting ‘fair

use’ to displace normal copyright channels disrupts the copyright market without a

commensurate public benefit.” Harper, 471 U.S. at 568 n.9; see also Princeton Univ. Press v.


13
  ROSS cites A&M Records, Inc. v. Napster Inc., to argue its copying is permissible because it
does not make for free what users would normally buy (Mot. 15), but that case merely held a use
may be commercial “even if the copies are not offered for sale,” not that this is required. 239 F.
3d 1004, 1015 (9th Cir. 2001) (emphasis added).


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Mich. Document Servs., Inc., 99 F.3d 1381, 1391 (6th Cir. 1996). The Westlaw Content took

significant investment to create, and part of its value to Plaintiffs inheres its use to train

Plaintiffs’ algorithms. It would make little sense to invest in creativity, and algorithms built

thereupon, if competitors could pilfer that content. See Am. Geophysical Union, 802 F. Supp. at

27; Eliahu v. Mediaite, LLC, 2024 WL 4266323, at *8 (S.D.N.Y. Sept. 23, 2024).

       Finally, ROSS argues in essence that appeal should be permitted because AI is a hot

topic. Mot. 16–17. In Redigi, the court rejected an interlocutory appeal based on a “policy-

related” disagreement, chastising the defendant for seeking “judicial amendment of the

Copyright Act to reach [a] desired policy outcome” when “as to what the law and the Copyright

Act provide…there is little debate.” Redigi at *6. Here, the Court applied established law to find

no fair use. The fact that there is a broader conversation about how fair use should apply to AI in

different contexts, (Mot. 16), does not make this matter appropriate for immediate appeal.

       Ultimately, all of these arguments demonstrate that ROSS believes that the Order was

wrongly decided. But ROSS’s disagreement is not equivalent to substantial grounds for a

differing opinion and is not a reason to certify interlocutory appeal. See McCague v. Trilogy

Corp., 2007 WL 9811124, at *2 (E.D Pa. Apr. 10, 2007); Lenz v. Universal Music Corp., 2008

WL 4790669, at *2 (N.D. Cal. Oct. 28, 2008). ROSS has not met this second requirement.

       C.      Immediate Appeal Will Not Materially Advance Termination of this Dispute

       To satisfy 1292(b), ROSS must also show “the disposition of [the interlocutory appeal]

may materially advance the ultimate determination of the litigation.” TK Holdings, 2021 WL

3796878, at *3. Courts consider whether an appeal would “(1) eliminate the need for trial, (2)

eliminate complex issues so as to simplify the trial, or (3) eliminate issues to make discovery

easier and less costly.” Exide Corp., 2002 WL 992817, at *2 “[W]here triable issues would




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remain even after a successful appeal, courts routinely deny certification of § 1292(b) appeals

because such an appeal will not materially advance the ultimate termination of the litigation.”

Id.; Orson, Inc., v. Miramax Film Corp., 867 F.Supp. 319, 322 (E.D. Pa. 1994); Piazza v. Major

League Baseball, 836 F.Supp. 269, 272 (E.D. Pa. 1993).

       This case is in an advanced state, and allowing an immediate appeal will not eliminate the

need for trial. With respect to Question 1, whatever the Third Circuit might do, Plaintiffs would

still have both direct infringement and indirect infringement claims with respect to the editorial

content that was copied beyond the West Headnotes, including the West Key Number System

and, for indirect infringement, the synopses. And tortious interference would remain. With

respect to Question 2, the affirmative defense of fair use only applies to copyright infringement,

and even a ruling in ROSS’s favor also will not vitiate the need for trial on tortious

interference.14 The trial is already short (five days) and contained—Plaintiffs have strived to

simplify, including by deciding not to seek damages for direct infringement beyond the 2,243

West Headnotes copied in the Bulk Memos, so the only question for the jury will be which

headnotes are still within the copyright term, which is a relatively simple issue that will not

require close analysis of the text of each headnote. With respect to indirect infringement, the

copying of Westlaw Content was done verbatim by LegalEase when it displayed and copied in

its cache annotated Westlaw cases, and therefore does not require the same substantial similarity

analysis as direct infringement once did. The jury will not need to “slog through” through the

Bulk Memos and compare them closely with the Westlaw Content. And indirect infringement

damages were not calculated on a headnote-by-headnote basis, but instead looked at what


14
   ROSS asserts in separate pre-trial submissions that its affirmative defense of fair use is
somehow in the case for purposes of indirect infringement. This is not correct, but if it were true,
it would make immediate appeal even less appropriate, as the second question for certification,
even if resolved in ROSS’s favor, would leave two of the three claims in the case.


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LegalEase would have paid but-for its infringing project.

       Allowing an immediate appeal will delay this case. In Rimini, the court denied the appeal

where the case was “in an advanced state” with trial looming, “exhaustive discovery [had] been

completed,” and the parties “filed their joint proposed pretrial order.” 2021 WL 4037482, at *7;

See Shurance v. Plan. Control Int’l, Inc., 839 F.2d 1347, 1348 (9th Cir. 1988). Similarly, this

case has been pending for five years. The trial was continued once already. The Parties are in the

midst of trial preparations. The amended pretrial order is being filed herewith, and the pretrial

conference is a week away. Staying the case and continuing the trial date yet again will only add

to the delay. See Gialde v. Time, Inc.¸ 480 F.2d 1295, 1301 (8th Cir. 1973) (three year wait

between filing and trial already too long to warrant additional delay from appeal); Averhart v.

Commc’ns Workers of Am., 2016 WL 1162628, at *2 (D.N.J. Mar. 24, 2016).

       In addition, an interlocutory appeal could lead to the kind of “piecemeal appeals” that

federal courts strongly discourage. Scanlon v. Life ins. Co. of N. Am., 2009 WL 10676074, at *1

(W.D. Wash. Dec. 18, 2009); Maxus Energy, 611 B.R. at 538. If the Court allows an immediate

appeal, regardless of how the Third Circuit rules, the case will go to trial. If ROSS then took

issue with the trial result, it would be able to file yet another appeal. This iterative process is

disfavored, and is further reason why ROSS cannot meet the standard. Rimini, 2021 WL

4037482, at *7 (refusing to permit an interlocutory appeal where “substantial amount of

litigation remains in th[e] case regardless of the correctness of the Court’s ruling”); Lillehagen v.

Alorica, Inc., 2014 WL 2009031, at *7 (C.D. Cal. May 15, 2014).

       ROSS’s arguments that immediate appeal would materially advance this litigation are

unavailing. First, ROSS argues that immediate appeal is “typical” for orders eliminating a theory

of liability or defense that will vitiate the need for a “long trial that results in damages.” Mot. 17.




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This is exactly backwards—immediate appeals are disfavored and granted sparingly. Milbert,

260 F.2d at 433. ROSS argues that appellate review will reduce the complex issues for the jury,

(Mot. 18), but as detailed above that is not true. It’s unclear why what ROSS argues is the

“emotional toll” of a five-day trial away from family (Mot. 18) would be any less significant if

that trial was focused only on tortious interference. Although jury duty is a serious obligation,

the short trial planned for May does not require sequestration or an outsized burden on the jurors.

       Second, ROSS argues that even though tortious interference remains in the case no

matter what, copyright is the “gravamen” of this case. ROSS cites In re Broadstripe, LLC, but in

that case the interlocutory appeal concerned a legal issue that was the gravamen of the claims,

not a separate claim that was unaffected by the legal issue to be decided, as tortious interference

is here. 2009 WL 774401, at *2 (D. Del. Mar. 26, 2009). And that case involved a preliminary

injunction, which is not a concern here. Id. ROSS relies on Knipe v. SmithKline Beecham, but

that case was “not standing on the brink of trial,” and there the court acknowledged that “[w]here

discovery is complete and the case is ready for trial an interlocutory appeal can hardly advance

the ultimate termination of the litigation.” 583 F. Supp. 2d 553, 600 (E.D. Pa. 2008).

       Third, ROSS argues that because Plaintiffs may recover disgorgement of profits from its

copyright claims, but not tortious interference, damages may need to be recalculated depending

on the appeal. Mot. 19. But Plaintiffs’ verdict form includes tortious interference damages as a

separate item, so they will not need to recalculated depending on the copyright claim. 15 ROSS



15
   ROSS argues that “scores of courts” have allowed appeals in similar postures. Mot. 19. But its
cases are distinguishable. In Pub. Int. Rsch. Grp. Of New Jersey v. Hercules, Inc., there was a
risk of having to do two “lengthy” and “identical” trials, which is not true here. 830 F. Supp.
1549, 1555 (D. N.J. 1993). And in the other cases, trial was not around the corner as it is here. In
re Moon Group, Inc. 2023 WL 3848338, at *7 (D. Del. June 6, 2023); See Gen. Dynamics Corp.
v. Am. Tel. & Tel. Co., 658 F. Supp. 417, 419 (N.D. Ill. 1987) (expecting “lengthy proceedings
before final resolution”); In re: Domestic Drywall Antitrust Litig., 2016 WL 2941114, at *4–5


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thus fails to meet this third requirement of § 1292(b).

       D.      No Exceptional Circumstances Warrant Permitting Immediate Appeal

       ROSS further failed to articulate the type of exceptional circumstances required for this

Court to deviate from the ordinary approach of waiting for the entry of a final judgment before

sending this case to the Third Circuit on appeal. Bachowski v. Usery, 545 F.2d 363, 368 (3d Cir.

1976). There is also the unescapable fact that ROSS delayed in even bringing this Motion. It

waited over a month since the Order was decided to seek certification. During that month-long

delay, the Parties revised their pre-trial submissions and are preparing for trial. Section 1292(b)

provides for an “immediate appeal,” and “a district judge should not grant an inexcusably

dilatory request.” Richardson Elecs., Ltd. v. Panache Broad. of Pennsylvania, Inc., 202 F.3d 957,

958 (7th Cir. 2000); Spears v. Washington Mut. Bank FA, 2010 WL 54755, at *2 (N.D. Cal. Jan.

8, 2010) (denying certification where there was no justification in delay for seeking

certification). As ROSS failed to articulate exceptional circumstances warranting an immediate

appeal, and its delay highlights the lack of such circumstances, the Motion should be denied.

II.    ROSS’S REQUEST FOR A STAY SHOULD BE DENIED

       Even if the Court agrees to certify the interlocutory appeal, there is no reason the case

should be stayed at this point. The Third Circuit will still need to decide whether to answer

ROSS’s questions, and all will be for naught if it decides the questions are inappropriate for

interlocutory review. The Court should deny ROSS’s request for a stay.

                                         CONCLUSION

       For the foregoing reasons, this Court should deny the motion for certification for

interlocutory appeal under 28 U.S.C. § 1292(b) and deny a stay pending appeal.


(E.D. Pa. May 20, 2016) (middle of discovery); A.S. ex rel. Miller v. SmithKline Beecham Corp.,
2013 WL 6506570, at *3 (M.D. Pa. Dec. 12, 2013) (trial 8 months away).


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April 1, 2025




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                               CERTIFICATE OF SERVICE

       I hereby certify that on April 1, 2025, I caused the foregoing to be electronically filed

with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

registered participants.

       I further certify that I caused copies of the foregoing document to be served on April 1,

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